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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 09-6980 SVW (RCx)                                           Date      April 2, 2010
 Title             Securities and Exchange Commission v. Elliott Broidy




 Present: The Honorable           STEPHEN V. WILSON, U.S. DISTRICT JUDGE
                 Paul M. Cruz                                   N/A
                 Deputy Clerk                        Court Reporter / Recorder                    Tape No.
                Attorneys Present for Plaintiffs:                     Attorneys Present for Defendants:
                              N/A                                                     N/A
 Proceedings:                 IN CHAMBERS ORDER DISMISSING ACTION [JS-6]

        At the hearing held on February 22, 2010, the Court ordered that Plaintiff inform the Court if
Defendant had failed to produce relevant documents by that time. The Court stated that "counsel may
move the Court for further relief" by March 1, 2010. [See docket no. 20.] As no further response has
been filed, and as there is no complaint or petition on file, the action is DISMISSED.




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                                                               Initials of Preparer              PMC
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